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 7
 8                        UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10   ALEJANDRO RODRIGUEZ,                  ) Case No. CV-07-3239-TJH (RNBx)
     ABDIRIZAK ADEN FARAH,                 )
11   YUSSUF ABDIKADIR, ABEL PEREZ          ) PETITIONERS’ AMENDED
     RUELAS, JOSE FARIAS CORNEJO,          )
12   ANGEL ARMANDO AYALA, for              ) NOTICE OF MOTION AND
     themselves and on behalf of a class of) MOTION FOR COMPLIANCE
13   similarly-situated individuals,       )
                                           ) Honorable Terry J. Hatter, Jr.
14                Petitioners,             )
                                           ) DATE: November 18, 2013
15                v.                       ) TIME: Under Submission
                                           ) PLACE: Courtroom 17
16   ERIC HOLDER, United States Attorney )
     General; JANET NAPOLITANO,            )
17   Secretary, Homeland Security;         )
     THOMAS G. SNOW, Acting Director, )
18   Executive Office for Immigration      )
     Review; TIMOTHY ROBBINS, Field        )
19   Office Director, Los Angeles District )
     Immigration and Customs Enforcement; )
20   WESLEY LEE, Officer-in-Charge, Mira )
     Loma Detention Center; et al.;        )
21   RODNEY PENNER, Captain, Mira          )
     Loma Detention Center; SANDRA         )
22   HUTCHENS, Sheriff of Orange County; )
     OFFICER NGUYEN, Officer-in-           )
23   Charge, Theo Lacy Facility; CAPTAIN )
     DAVIS NIGHSWONGER, Commander, )
24   Theo Lacy Facility; CAPTAIN MIKE      )
     KREUGER, Operations Manager, James )
25   A. Musick Facility; ARTHUR            )
     EDWARDS, Officer-in-Charge, Santa     )
26   Ana City Jail; RUSSELL DAVIS, Jail    )
     Administrator, Santa Ana City Jail,   )
27                                         )
                  Respondents.             )
28
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 1         To all parties and their counsel of record, please take notice that a hearing on
 2   November 18, 2013 is under submission in the above entitled Court, before the
 3   Honorable Terry J. Hatter, Jr., in Courtroom 17 of the United States District Court,
 4   Central District of California, Western Division, located at 312 North Spring Street,
 5   Los Angeles, California, 90012. Petitioners will and hereby move for this Court to
 6   compel Respondents to comply with this Court’s Summary Judgment Order (the
 7   “Order”), Dkt. 353.
 8         This motion is made on the following grounds:
 9       Respondents have refused to comply with the Order’s requirement that
10         Respondents provide a “plain language” notice to class members of scheduled
11         bond hearings.
12       Respondents have unilaterally excluded certain class members from the benefits
13         of class membership without leave of the Court or notice to the Court or to
14         Petitioners’ counsel.
15         In light of Respondents’ pattern of noncompliance, Petitioners also request that
16   this Court modify its Order to require Respondents to disclose certain electronic and
17   court records relating to the bond hearings conducted pursuant to the Order that will
18   better enable Petitioners to monitor Respondents’ compliance.
19         This motion is based upon this Amended Notice of Motion and Motion; the
20   previously filed Memorandum of Points and Authorities and declaration of Michael
21   Kaufman, see Dkt. 367, 368; and all pleadings and other documents on file with this
22   Court, as well as any other evidence or argument that may be presented before or at
23   the time of the hearing on the motion.
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 1         This motion is made following the conference of counsel pursuant to L.R. 7-3,
 2   which took place telephonically and by electronic correspondence on several
 3   occasions, including August 30, 2013, September 10, 2013, and September 18, 2013.
 4   Respondents oppose this Motion.
 5
 6                                               Respectfully submitted,
 7                                               ACLU OF SOUTHERN CALIFORNIA
 8   Dated: October 17, 2013                      s/ Michael Kaufman
                                                 MICHAEL KAUFMAN
 9                                               Counsel for Petitioners
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